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                                            Agreement to Arbitrate


              In consideration of my employment and/or promotion, which I acknowledge as good and
   sufficient consideration, I agree with Big Sur Waterbeds, Inc., ("Company") that any dispute, claim, or
   controversy between myself and Company, its current or future parents, subsidiaries, affiliates, or their
   officers, managers, employees, agents, representatives and insurers relating in any manner to my
   employment, compensation, termination from employment or the application or interpretation of this
   Agreement, whether sounding in contract, statute, tort, discrimination, or any other legal theory,
   including, without limitation, claims under federal and state statutes governing the employment
   relationship or prohibiting discrimination in the workplace ("Claims") will be resolved by arbitration
   before a single arbitrator under the then-current Employment Arbitration Rules of the American
   Arbitration Association which can be found at htt ://www.adr.or ,.
              Nothing in this Agreement prohibits me from filing a charge or complaint with any federal, state,
   or local agency, such as the EEOC, NLRB, or DOL, or participating in or cooperating with any
   investigation by such agencies; however, I understand and agree that I cannot recover any monetary relief
   from such administrative proceedings. I understand and agree that the intent of this Agreement is to
   establish a forum for the Company and me to promptly and efficiently resolve Claims and that this
   Agreement does not create any independent claims that I otherwise would not be entitled to pursue in
   court or with an administrative agency. I understand and agree that arbitration is not a pre-requisite to any
   employment decisions the Company may make. I further understand and agree that claims for workers'
   compensation and unemployment compensation benefits are not covered by this Arbitration Agreement.
              The award of the arbitrator will be final and binding upon the Company and me. The Company
   will pay the full cost of such arbitration, but not my attorneys' fees and costs (unless otherwise ordered by
   the arbitrator). The arbitrator will have the authority to award any remedy or relief that a court could
   order or grant, legal, equitable, or otherwise. However, unless the Company and I otherwise agree in
   writing, the arbitrator will only have the authority to consider individual Claims, and will have no
   authority to decide Claims on behalf of any group or class of employees. Arbitration will occur in the
   state in which I am employed by the Company at the time the Claim arose. The substantive law of
   Colorado, to the extent it is consistent with the terms stated in this Agreement, will apply to all Claims not
   addressed by Federal statutes. The arbitrator may allow such discovery as he or she deems appropriate,
   consistent with the goal of arbitration to provide a speedy and inexpensive resolution of disputes, and the
   arbitrator may hear and determine any motions brought by the Company or me. Any award rendered by
   the arbitrator may be enforced, if necessary, in any court of competent jurisdiction.


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              Nothing in this Agreement modifies, or is intended to modify, the "at-will" status of my
   employment with the Company.
              I understand that the Company may not change this Agreement except upon thirty (30) days prior
   written notice to me. I further understand that any such change will not apply to any pending arbitration
   or to any Claim I have against the Company about which I notified the Company in writing prior to
   receiving a notice of change to this Agreement.
              If any part or parts of this Agreement shall be held unenforceable for any reason, the remainder of
   this Agreement shall continue in full force and effect.


   Dated:         i-JO, f1                                   Signed:     ~
                                                             Name:          <- JA:cvl~~'-fSC
                                                                     (please print)          /   \_
                                                                     Location:      Colarc.clo   ·.JP u::'r 1




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